                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                   3:13cv390
                                   [3:90cr85]

CECIL JACKSON,                      )
                                    )
            Petitioner,             )
                                    )                       ORDER
Vs.                                 )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)

       THIS MATTER is before the court on Petitioner Cecil Edward Jackson’s Motion under

18 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence (#1). In addition to his Habeas

Petition, Mr. Jackson has filed the following pending motions: Motion to Expand the Record

(#15); Motion to Supplement 2255 with New Authority (#16); Motion for Default Judgment

(#17); Motion for Summary Judgment (#18). The Court directed the Government to respond on

two particular issues:

       (1)     Whether petitioner’s convictions on Counts 12 and 13 should be vacated

               based on alleged actual innocence under Bailey;

       (2)     If so, whether petitioner is entitled to be resentenced as to the remaining

               counts of conviction.

       The Government has so responded and moved for the dismissal of the Petition. The court

will allow the Motion to Expand the Record (# 15) and consider the affidavit of Mr. Purvis

Roseboro. The court will also grant the Motion to Supplement (# 16) and consider such motion

as a supplement to Petitioner’s Response (#14).



                                                  1

      Case 3:90-cr-00085-MOC           Document 120       Filed 03/05/14      Page 1 of 7
        Having considered the motions and reviewed the pleadings, the court enters the following

findings, conclusions, and Order.

                                   FINDINGS AND CONCLUSIONS

        I.       Procedural History

        On October 12, 1990, Petitioner was convicted of numerous violations of federal laws

including possession with intent to distribute a controlled substance, 21 U.S.C. § 841(a)(1);

conspiracy to distribute cocaine base, 21 U.S.C. § 846; participation in a continuing criminal

enterprise, 21 U.S.C. § 848; and, relevant to the motions at hand, thirteen counts of carrying a

firearm during and in relation to a drug trafficking crime, 18 U.S.C. 924(c). Mr. Jackson was

sentenced to life imprisonment with a consecutive sentence of 145 years.1 On appeal, the Fourth

Circuit Court of Appeals affirmed the sentence with the exception of the conspiracy conviction.

United States v. Jackson, 953 F.2d 640 (4th Cir. 1992). The Court of Appeals affirmed the

District Court’s Amended Judgment against Petitioner on October 7, 1993.

        Five years later in May of 1997, Petitioner filed his first Motion under 28 U.S.C. 2255

which he subsequently moved to dismiss one month later. Jackson v. United States, 3:97-cv-

261, ## 1, 2 (W.D.N.C. 1997). Mr. Jackson’s petition was dismissed with prejudice on June 4,

1997, and a Judgment was entered therewith. (## 5, 6). Petitioner did not appeal such dismissal

with prejudice until seven years later when on February 23, 2004, he filed a Motion for Relief

from “Void Judgment,” arguing that the district court lacked jurisdiction to dismiss his petition

with prejudice once he had filed his dismissal. (#8). The motion was denied and Petitioner

appealed the dismissal to the Fourth Circuit Court of Appeals. The Fourth Circuit agreed with

Petitioner and held that Mr. Jackson’s Motion to Dismiss was effectively a Notice of Dismissal


1
 Petitioner’s sentence was subsequently reduced to 360 months plus 145 years. United States v. Jackson, 3:10-cr-
85 (W.D.N.C. 1990), ECF No. 59.

                                                        2

       Case 3:90-cr-00085-MOC                Document 120           Filed 03/05/14         Page 2 of 7
which took immediate effect upon its filing and divested the court of authority to conduct further

proceedings on the merits. Jackson v. United States, 245 F. App'x 258, 259 (4th Cir. 2007). On

remand, the district court entered an Order on October 17, 2007 vacating its earlier Order and

dismissing Mr. Jackson’s 2255 petition without prejudice (#21).

       Weeks later Petitioner filed a “Motion for Relief from Order Granting Dismissal Without

Prejudice Pursuant to Fed.R.Civ.Proc. Rule 59(e) and/or Rule 60(b),” in which he argued that

notwithstanding the fact that he had filed a Notice of Dismissal, the court should not have

dismissed his original § 2255 Petition without first giving him notice that such a dismissal could

have precluded his ability to pursue collateral review in the future (#23), and requested that the

court consider his § 2255 petition on its merits. While the motion was pending, Mr. Jackson

petitioned the Court of Appeals for a Writ of Mandamus (#24) requesting that the Court of

Appeals direct the District Court to rule on his motion. The petition was denied. In re Jackson,

330 F. App'x 30 (4th Cir. 2009). On January 22, 2009, the District Court denied Mr. Jackson’s

“Motion for Relief” (# 27).

       Petitioner filed the instant Motion to Vacate Under 28 U.S.C. § 2255 on June 26, 2013.

Jackson v. United States, 3:13-cv-390, #1 (W.D.N.C. 2013).

       II.     Analysis

       Petitioner moves the court under 28 U.S.C. § 2255 to vacate his convictions of the

charges contained in Counts 12 and 13 under 18 U.S.C. 924(c). His principal contention is that

when his case was tried in the early 1990s, the district court’s instruction as to “use” of a firearm,

while proper at the time, was improper based on the Supreme Court’s later decision in Bailey v.

United States, 516 U.S. 137 (1995). Petitioner contends his appellate counsel was ineffective for

not raising this claim.



                                                  3

       Case 3:90-cr-00085-MOC           Document 120         Filed 03/05/14      Page 3 of 7
Petitioner faces significant procedural hurdles in raising his Section 2255 motion as his

conviction became final nearly twenty years ago in 1994. See 28 U.S.C. § 2255(f)(1) (A 1-year

period of limitation shall apply to a motion under this section. The limitation period shall run

from the latest of—(1) the date on which the judgment of conviction becomes final). Petitioner

contends that due to an error by the district court, he was prohibited under the Anti-Terrorism

and Effective Death Penalty Act of 1996 (hereinafter “AEDPA”) from filing his present Section

2255 motion. The district court had erroneously dismissed with prejudice Petitioner’s original

motion in 1997. That Order was withdrawn in 2007, however, and Petitioner does not explain

his failure to file between 2007 and 2013. In his motion, Petitioner admits that his claims are

“arguably procedurally defaulted.” Def.’s Mot. 9 (#1). The government correctly notes that

defendants seeking relief under Bailey must still overcome certain procedural hurdles, including

procedural default and at this point, defendant must either demonstrate “cause” and “actual

prejudice” or that he is “actually innocent.” Petitioner does not demonstrate cause or actual

prejudice. This claim was not raised on direct appeal and the “mere possession” argument

adopted in Bailey was not so novel at that time that Petitioner’s counsel could not have raised it.

Bousley v. United States, 523 U.S. 614, 622 (1998). Indeed, it appears that Petitioner raised a

similar “mere possession” argument on direct appeal as to several other of his convictions under

18 U.S.C. § 924(c). United States v. Jackson, 953 F.2d 640 (4th Cir. 1992) (“The trial judge

properly instructed the jury on this element, insuring that the defendants would not be convicted,

as they now contend, on mere possession.”).

       His principal contention is that the recent Supreme Court decision Mcquiggins v. Perkins,

569 U.S. __, 133 S.Ct. 1924 (2013) provides him with a gateway through which he can now raise

a Bailey claim. Petitioner contends that in light of Bailey, the jury was improperly instructed and



                                                4

      Case 3:90-cr-00085-MOC           Document 120        Filed 03/05/14      Page 4 of 7
he is actually innocent of the charges in Counts 12 and 13. He petitions the court to vacate his

sentence for those counts and grant him a resentencing hearing.

         To overcome the procedural hurdle and have his claim reviewed on collateral review,

Petitioner must demonstrate by clear and convincing evidence, United States v. Mikalajunas, 186

F.3d 490, 494 (4th Cir. 1999) (citing Sawyer v. Whitley, 505 U.S. 333, 350 (1992)), that “in light

of all the evidence, it is more likely than not that no reasonable juror would have convicted him.”

         523 U.S.
Bousley, 523 U.S. 614 at 623
                         623 (quoting
                              (quotingSchlup
                                       Schlupv.v. Delo,
                                                  Delo, 513
                                                        513 U.S.
                                                            U.S. 298, 327-28 (1995) (internal

quotation
298,      marks
     327-28     omitted)).
            (1995)         In this
                    (internal      context,marks
                               quotation    “`actual innocence'
                                                  omitted)). Inmeans  factual innocence,
                                                                this context,             not mere
                                                                               “‘actual innocence’

legal
meansinsufficiency.” Bousley
       factual innocence, not at 623.legal insufficiency.” Bousley at 623.
                              mere

         The court agrees with the Government that Petitioner cannot satisfy the demanding

procedural hurdle he now faces. The Supreme Court has consistently stressed that the “Shlup

standard is demanding. The gateway should open only when a petition presents ‘evidence of

innocence so strong that a court cannot have confidence in the outcome of the trial unless the

court is also satisfied that the trial was free of nonharmless constitutional error.” McQuiggin v.

Perkins, 133 S. Ct. 1924, 1936 (2013) (quoting Schlup, 513 U.S. 298, 316) (citing House v. Bell,

547 U.S. 518, 538 (2006) for the proposition that the Shlup standard is “demanding and seldom

met”).

         In the present case, the principal piece of evidence Petitioner presents is the closing

instruction for the 924(c) charges in Counts 12 and 13. Def.’s Mot. 8 (ECF No. 1). The court

emphasizes that “actual innocence” refers to factual innocence not legal insufficiency. Bousley,

523 U.S. at 623. While the instruction apparently permitted the jury to find Petitioner guilty of

those charges under the “mere possession” theory later undercut by Bailey, the presence of such

an instruction is not evidence that the jury so found. The fact that the closing instructions in


                                                 5

         Case 3:90-cr-00085-MOC        Document 120        Filed 03/05/14      Page 5 of 7
Petitioner’s trial are legally infirm twenty-three years after being given is not convincing

evidence of Petitioner’s innocence.

       Petitioner has also filed with the court the affidavit of Purvis Roseboro. Mr. Roseboro

was apparently in the hotel room where the police discovered the firearms and narcotics which

subsequently formed the basis for Petitioner’s convictions on Counts 12 and 13. Mr. Roseboro

affies that Petitioner “never possessed the ability to use the firearms found by Officer Nickerson

on the night in question.” Purvis Aff. 1, ECF No. 14 at 23. Petitioner also submits the trial

testimony of Officer Nickerson as corroboration for Mr. Roseboro’s affidavit.           Petitioner

contends that because he was not present when the discovery was made, he must necessarily be

actually innocent of those charges.

       Mr. Roseboro’s affidavit does not establish that Petitioner was actually innocent of the

charges contained in Counts 12 and 13. A review of Officer Nickerson’s testimony reveals that

while Petitioner was not present when the narcotics and firearms were discovered, this was only

because he had been arrested at that very location moments before Officer Nickerson arrived.

Nickerson Testimony, ECF No. 14-1. Bailey does not stand for the proposition that to be

convicted under 18 U.S.C. 924(c), a defendant must be present when the firearms and narcotics

are discovered. Contrary to Petitioner’s assertion, the court cannot say that no reasonable jury

could have found that Mr. Jackson actively employed the firearm during and in relation to the

predicate drug conspiracy.

       III.    CONCLUSION

       Having read and thoroughly considered the parties’ briefs as well as available documents

from the underlying criminal matter, the court finds that Petitioner has not established by clear

and convincing evidence that no reasonable juror would have convicted him of the two 924(c) he



                                                6

      Case 3:90-cr-00085-MOC           Document 120       Filed 03/05/14      Page 6 of 7
now contests. As the court finds no reason to disturb Petitioner’s convictions on these counts,

the court will deny Petitioner’s request for resentencing. Accordingly, the court enters the

following Order granting the Government’s motion and dismissing the Petition.

                                              ORDER

          IT IS, THEREFORE, ORDERED that the Government’s Motion to Dismiss (#9) is

GRANTED and Petitioner’s Motion to Vacate under 18 U.S.C. § 2255 is DENIED.

          IT IS FURTHER ORDERED that:

                  (1)     Petitioner’s Motion to Expand the Record (#15) is GRANTED;

                  (2)     Petitioner’s Motion to Supplement (#16) is GRANTED;

                  (3)     Petitioner’s Motion for Default Judgment (#17) is DENIED; and

                  (4)     Petitioner’s Motion for Summary Judgment (#18) is DENIED.

          This civil action is DISMISSED with prejudice.

                                Denial of Certificate of Appealability

          Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases, this court declines to

issue a certificate of appealability as petitioner has not made a substantial showing of a denial of

a constitutional right. 28 U.S.C. § 2253(c)(2); Miller -El v. Cockrell, 537 U.S. 322, 336-38

(2003) (in order to satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484–85 (2000) (in order to satisfy § 2253(c) when the court denies

relief on procedural grounds, a petitioner must demonstrate both that the dispositive procedural

ruling is debatable, and that the petition states a debatable claim of the denial of a constitutional

right).

  Signed: March 6, 2014




          Case 3:90-cr-00085-MOC         Document 120       Filed 03/05/14      Page 7 of 7
